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                   9                            UNITED STATES DISTRICT COURT
              10                              CENTRAL DISTRICT OF CALIFORNIA
              11
                        CITY OF ALMATY,                           Case No. 14-cv-03650-FMO
              12                                                  Consolidated with Case No. 15-cv-02628-
                                          Plaintiff,              FMO
              13
                                v.                                Assigned To: Hon. Fernando M. Olguin
              14
                        VIKTOR KHRAPUNOV, et al.,                 PLAINTIFF CITY OF ALMATY’S
              15                                                  OPPOSITION TO DEFENDANTS’
                                          Defendants.             MOTION TO DISMISS
              16                                                  CONSOLIDATED AMENDED
                                                                  COMPLAINT
              17
                                                                  Declaration of Jonathan M. Jackson;
              18                                                  Declaration of Alexander Korobeinikov;
                                                                  Request for Judicial Notice; and Exhibits
              19                                                  Filed Under Seal Pursuant to Court’s
                                                                  Prior Order Filed Currently Herewith
              20
                                                                  Action Filed:     May 13, 2014
              21
                                                                  Hearing Date: December 21, 2017
              22                                                  Hearing Time: 10:00 a.m.
                                                                  Courtroom:    6D
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                   1 I.         INTRODUCTION
                   2            Defendants’ Motion to Dismiss (the “Motion”) is based on a fundamental
                   3 mischaracterization of the claims at issue in the Consolidated Amended Complaint
                   4 (“CAC”). As alleged in the CAC, Defendants engaged in two related, but distinct,
                   5 racketeering schemes: first, Viktor Khrapunov (“Viktor”), Leila Khrapunova
                   6 (“Leila), Iliyas Khrapunov (“Iliyas”), Madina Ablyazova (“Madina”), Elvira
                   7 Kudryashova (“Elvira”) and Dmitry Kudryashov (“Dmitry”) (the “Khrapunovs”)
                   8 embezzled a vast fortune from the residents of the City of Almaty (“Plaintiff” or
                   9 “Almaty”) through the abuse of Viktor’s position as mayor; and, second, the
              10 Khrapunovs, using a host of shell entities and U.S. corporations that are also
              11 named in the CAC (with the Khrapunovs, “Defendants”), systematically laundered
              12 and converted Almaty’s stolen assets in the United States, including through the
              13 purchase and sale of more than $32 million in real estate in California.
              14                Defendants’ initial embezzlement of funds in Kazakhstan, while part of the
              15 story, is not the basis for this lawsuit. Rather, the claims alleged in the CAC are
              16 focused on Defendants’ domestic acts of money laundering, all of which were
              17 designed to conceal Almaty’s stolen property and thwart Almaty’s efforts to trace
              18 its stolen funds and recover assets located within the U.S. Defendants’ Motion
              19 ignores that domestic focus.
              20                Having fled criminal investigations in Kazakhstan and elsewhere, attempted
              21 to conceal Almaty’s stolen funds through a dizzying web of sham entities and
              22 international money transfers, and having laundered tens of millions of dollars into
              23 California real estate for the specific purpose of preventing foreign authorities from
              24 seizing these stolen funds, Defendants brazenly assert that Almaty is “forum
              25 shopping” by seeking to recover its stolen property in this district, where
              26 Defendants chose to hide it. Defendants invite this Court to hold either that
              27 Almaty must pursue its claims in Switzerland (even though the Ninth Circuit just
              28 rejected that very contention) or that Almaty may only pursue its claims in
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                   1 Kazakhstan (even though Defendants refuse to appear in Kazakhstan and have long
                   2 since funneled all of the stolen funds out of Kazakhstan). Neither position has
                   3 merit. To the contrary, Almaty is entitled to seek a remedy in U.S. courts for
                   4 Defendants’ actions in (and directed into) the U.S. in violation of U.S. law.
                   5            Defendants’ contention that Almaty’s RICO claim should be dismissed for
                   6 lack of a “domestic injury” is likewise meritless. This is not a case where, in the
                   7 course of criminal acts elsewhere, a defendant’s funds merely sat passively in or
                   8 flowed through a U.S. bank account. Here, Defendants broke the law in the U.S.
                   9 and in so doing harmed Almaty in the U.S., and those domestic actions and harms
              10 are the focus of this case. Specifically, Defendants engaged in extensive domestic
              11 transactions involving real estate and other tangible property in California, illegally
              12 converting Almaty’s property in California and rendering it far more difficult and
              13 costly for Almaty to trace and recover its assets in the U.S. The Supreme Court’s
              14 recent decision in RJR Nabisco and its progeny do not preclude a RICO action in
              15 these circumstances. To the contrary, those precedents make clear that the CAC
              16 alleges sufficient “domestic injury” on at least two alternative bases:
              17 (1) Defendants’ injury-producing conduct occurred in the U.S., and (2) Defendants
              18 harmed Almaty’s property interests, and Almaty itself, in the U.S. The contrary
              19 district court decision in Bascuñán v. Elsaca on which Defendants rely was
              20 reversed on appeal shortly after Defendants filed the Motion.
              21                Defendants’ contention that Almaty’s RICO claim should be dismissed on
              22 res judicata grounds based on a recent opinion (the “SDNY Opinion”) in a case
              23 pending in the Southern District of New York, Case No. 15-cv-05345 (the “SDNY
              24 Action”) likewise fails. Defendants do not and cannot satisfy the necessary res
              25 judicata requirements, as there has been no “final judgment” and there is no
              26 “identity of claims” in the SDNY Action. Moreover, there has been a substantial
              27 change in applicable law, because (as noted) the SDNY Opinion was explicitly
              28 based on the same Bascuñán v. Elsaca decision that was later reversed by the
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                   1 Second Circuit. In any event, Defendants have long since waived any claim that
                   2 res judicata should apply here.
                   3            Defendants’ contention of untimeliness is likewise meritless. None of
                   4 Almaty’s claims are time-barred, and Defendants’ arguments to the contrary are
                   5 both incorrect and premature, as they seek factual determinations that the Court
                   6 may not properly make at this stage. Finally, this Court has personal jurisdiction
                   7 over the so-called “Swiss Defendants,” based on both their intentional misconduct
                   8 targeted at California, and their direct involvement in unlawful activity conducted
                   9 within California. At a minimum, jurisdictional discovery is warranted.1
              10                Having chosen to direct their money laundering and other unlawful activities
              11 to the U.S., Defendants cannot now complain that they are being held to answer for
              12 those wrongs in this Court. The Motion should be denied in its entirety.
              13 II.            BACKGROUND
              14                A.        Statement of Facts
              15                Almaty is the most populous city in Kazakhstan. (CAC, ¶ 7.) Viktor was
              16 the mayor of Almaty from June 1997 until December 2004. (Id., ¶ 21.) While in
              17 office, Viktor abused his authority to steal hundreds of millions of dollars from the
              18 people of Almaty by (among other things) rigging auctions of state-owned real
              19 estate for the benefit of himself, his friends and his family, including Defendants
              20 and co-conspirators Leila (his wife), Iliyas (his step-son), Elvira (his step-
              21 daughter), Madina (his daughter-in-law), and Dmitry (his son-in-law). (Id., ¶¶ 8-
              22 11, 20-27.) In total, the Khrapunovs misappropriated more than 80 pieces of
              23 public land and reaped approximately $300 million in illicit profits. (Id., ¶ 41.)
              24
                        1
              25        Defendants’ attempt to “incorporate by reference” arguments regarding Rule
                 9(b) that were raised in a prior motion to dismiss is wholly improper. (See Mot.,
              26 at 1.) Not only does this violate applicable page-limit requirements, but the prior
                 motion to dismiss addressed a different complaint, which has now been superseded
              27 by the CAC. To the extent the Court considers Defendants’ improper Rule 9(b)
                 arguments, Plaintiff incorporates by reference all arguments and case law cited in
              28 Plaintiff’s prior opposition (No. 15-cv-02628, Dkt. 26).
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                   1            In order to conceal their unlawful conduct and escape the reach of
                   2 governmental authorities, the Khrapunovs began transferring the stolen funds out
                   3 of Kazakhstan through a series of sham entities and international bank accounts.
                   4 (Id., ¶¶ 29-30.) The Khrapunovs initially transferred these stolen funds to a variety
                   5 of different countries, including Switzerland, where Iliyas and Elvira were
                   6 residing. (Id., ¶ 29.) By 2007, all of the Khrapunovs had fled to Switzerland, and
                   7 all of Almaty’s stolen money had been taken out of Kazakhstan. (Id., ¶ 36.)
                   8            In 2010, Elvira and Dmitry relocated to California, and the Khrapunovs
                   9 began systematically moving significant portions of the stolen funds into the U.S.
              10 in a further attempt to conceal the source of those funds and make them appear
              11 legitimate. (Id., ¶¶ 31-32, 83-158.) In particular, the Khrapunovs utilized various
              12 sham holding companies and entities to surreptitiously purchase and re-sell more
              13 than $32 million worth of real estate in California, including: 2578 Hutton Drive,
              14 Beverly Hills ($4.97 million); 606 N. Alta Drive, Beverly Hills ($6.975 million);
              15 628 N. Alta Drive, Beverly Hills ($7.2 million); 11986 Lockridge Road, Studio
              16 City ($6.5 million); and 2 Narbonne, Newport Beach ($6.375 million). (Id.,
              17 ¶¶ 109-158.) Each of these “unlawful purchase[s] of property caused additional
              18 harm to Almaty in the U.S. by preventing Almaty [from accessing] its property and
              19 [making] it more difficult and costly for Almaty to trace and recover its U.S.-based
              20 assets.” (Id., ¶¶ 113, 118, 125, 136, 145.)
              21                The Kazakh government did not discover the Khrapunovs’ unlawful conduct
              22 until years after it occurred. Kazakhstan’s “Financial Police” filed two criminal
              23 cases against Viktor on suspicion of abuse of power and fraud on May 27, 2011,
              24 and ultimately opened 24 criminal cases against Viktor, Leila and Elvira for
              25 embezzlement, fraud and related offenses. (Id., ¶ 37.)
              26                B.        Additional Actions Against the Khrapunovs
              27                In an attempt to portray the Khrapunovs as “victims” of government
              28 persecution, Defendants recite a host of allegations regarding the Kazakh
                       US-DOCS\96629573                                  PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO
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                   1 government’s purported use of litigation to pursue “political dissidents.” (Mot., at
                   2 3-4.) These allegations are not properly before the Court,2 are irrelevant to the
                   3 resolution of the Motion, and are factually incorrect in any event. The
                   4 Khrapunovs’ unlawful conduct (and that of the other supposed “dissidents” cited
                   5 by Defendants) has been independently recognized in a number of jurisdictions. In
                   6 2012, the Swiss government began investigating the Khrapunovs on suspicion of
                   7 money laundering in violation of Swiss law, and ordered their Swiss accounts and
                   8 assets frozen. (CAC, ¶ 38.) Viktor, Iliyas and Leila are currently on INTERPOL’s
                   9 public “red notice” list. (Request for Judicial Notice (“RJN”), Exs. A-C.) BTA
              10 bank obtained a nearly $4 billion dollar judgment and worldwide freezing order
              11 against Mukhtar Ablyazov in the United Kingdom in 2012 (CAC, ¶ 30; RJN Ex. D,
              12 ¶¶ 4, 11), and Ablyazov himself was imprisoned in France and has been sentenced
              13 to 22 months’ imprisonment in the United Kingdom for various acts of contempt
              14 (RJN Ex. D, ¶¶ 5-6). Far from persecuted political “dissidents,” Defendants are
              15 members of an internationally recognized organized crime ring.
              16              In the later-filed SDNY Action on which Defendants erroneously base their
              17 res judicata defense, moreover, the court granted Almaty and BTA Bank’s request
              18 for an attachment order in the amount of $69.3 million, after holding an extensive
              19 evidentiary hearing and concluding they were likely to succeed on the merits of
              20 their claims against Triadou (an entity controlled by Iliyas), based on a host of
              21 adverse factual and credibility findings against Triadou. (RJN Exs. F, G.)
              22 III.         DEFENDANTS’ MOTION SHOULD BE DENIED
              23              A.        Plaintiff’s RICO Claim is Not Barred by Res Judicata
              24              To succeed on their defense of res judicata (sometimes referred to as “claim
              25 preclusion”), Defendants must establish: “(1) an identity of claims, (2) a final
              26      2
                        Read v. De Bellefeuille, 2012 WL 12888326, at *2 (C.D. Cal. June 27, 2012)
              27 (“In evaluating a motion to dismiss, the Court generally cannot consider material
                 outside the complaint, such as facts presented in briefs, affidavits, or discovery
              28 materials, unless such material is alleged in the complaint or judicially noticed.”).
                     US-DOCS\96629573                                  PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO
ATTORNEYS AT LAW
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                   1 judgment on the merits, and (3) privity between parties” with respect to the SDNY
                   2 Action. (Mot., at 9.)3 Defendants not only have failed to satisfy these basic res
                   3 judicata requirements, but they have long since waived any argument that res
                   4 judicata should apply. Moreover, the Bascuñán v. Elsaca decision on which the
                   5 SDNY Opinion was based was subsequently reversed on appeal by the Second
                   6 Circuit. Defendants’ res judicata defense fails on this basis as well.
                   7                      1.   There was no “Final Judgment on the Merits”
                   8            As an initial matter, Defendants’ res judicata defense fails because there has
                   9 been no “final judgment” in the SDNY Action. While the SDNY Opinion
              10 concluded that the cross-plaintiffs’ RICO claim should be dismissed, the court
              11 entered no separate judgment to that effect and otherwise denied the cross-
              12 defendants’ motions to dismiss in several key respects. (RJN Ex. L.) The SDNY
              13 Action remains active, with fact discovery set to close in early 2018.4
              14                The SDNY Opinion is thus an unappealable interlocutory order. The SDNY
              15 cross-defendants opposed the cross-plaintiffs’ efforts to certify it as a “final
              16 judgment” under Rule 54(b) (RJN Ex. J), and the court denied the motion for
              17 certification (id., Ex. K). The SDNY Opinion thus cannot support a res judicata
              18 finding here. Pyramid Lake Paiute Tribe of Indians v. Hodel, 882 F.2d 364, 369
              19 n.5 (9th Cir. 1989) (because order was not certified under Rule 54(b), “it has no
              20 preclusive effect”); Riggio v. Serv. Corp. Int’l, 476 F. App’x 135, 136 (9th Cir.
              21 2012) (“The district court erred in applying res judicata to dismiss this case
              22 because the [prior] action . . . had not yet reached final judgment. Even assuming
              23        3
                               In addition to the numerous other defects in Defendants’ res judicata
              24        defense (discussed below), this defense cannot be applied to any parties other than
                        Viktor and Iliyas, as none of the other Defendants were involved in the SDNY
              25        Action, and Defendants have failed to establish privity. (Cf. Mot., at 11-14.)
                        4
                               Defendants’ Motion cites Federated Dep’t Stores, Inc. v. Moitie, 452 U.S.
              26        394, 399 n.3 (1981) for the unremarkable proposition that a Rule 12(b)(6)
                        dismissal may qualify as a “judgment on the merits,” but ignores the finality
              27        requirement altogether. (Mot., at 11.) In Moitie, unlike the SDNY Action, “[t]he
                        District Court dismissed all of the actions ‘in their entirety,’” resulting in a final
              28        appealable judgment. Id. at 396.
                       US-DOCS\96629573                                  PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO
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                   1 the order . . . constituted an adjudication on the merits, it would have been an
                   2 interlocutory order that – absent certification under Rule 54(b) – was not yet
                   3 entitled to res judicata effect.”); Wright & Miller, 10 Fed. Prac. & Proc. Civ.
                   4 § 2661 (3d ed. 2017) (“[I]f no certificate issues, the court’s decision or order
                   5 remains interlocutory and the above [res judicata] effects will not take place.”).
                   6
                                          2.   There is no “Identity of Claims,” and Defendants Have
                   7                           Long Since Waived any Argument to the Contrary
                   8            Defendants contend there is an “identity of claims,” because the SDNY
                   9 Action purportedly arose out of “the same transactional nucleus of facts,” and
              10 Almaty thus “could have brought” the instant RICO claim in the SDNY Action.
              11 (Mot., at 10-11.) This contention fails on both counts.
              12                First, the SDNY Action is not based on “the same transactional nucleus of
              13 facts.” There, cross-plaintiffs Almaty and BTA Bank (not a party here) seek to
              14 recover funds stolen by Mukhtar Ablyazov (not a party here), laundered through
              15 Triadou and other entities (not parties here), and invested in at least two New York
              16 real estate projects (not at issue here). As the SDNY court has observed:
              17                [T]here is a “bona fide connection” between this lawsuit and the New
                                York forum. . . . Almaty and BTA Bank allege that Triadou
              18                laundered embezzled funds stolen from Kazakhstan into New York
                                real estate developments, including the Flatotel and Cabrini Medical
              19                Center projects. . . . Based on these allegations, they seek recovery of
                                the property interests themselves . . . and any profits Triadou received
              20                from the sale of those interests.
              21 (RJN Ex. E, at 8.)
              22                Here, in contrast, Almaty seeks to recover millions of dollars in stolen funds
              23 (not at issue in the SDNY Action) that were laundered through real estate in
              24 California (not New York), by a host of additional individuals and entities that are
              25 not parties to the SDNY Action. (See CAC, ¶¶ 111, 116, 123-24, 133-34, 139,
              26 142, 150-51.) While certain background allegations may be similar, the operative
              27 RICO claims are not sufficiently identical to warrant the application of res
              28 judicata.
                       US-DOCS\96629573                                  PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO
ATTORNEYS AT LAW
  LOS ANGELES                                                       7          DISMISS CONSOLIDATED AMENDED COMPLAINT
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                   1            Even if Almaty’s RICO claim could be considered part of “the same
                   2 transactional nucleus of facts,” Defendants have long since waived any argument
                   3 that res judicata should apply on that basis. Any attempt by Almaty to assert
                   4 claims in the later-filed SDNY Action based on the “the same transactional nucleus
                   5 of facts” as the claims in this case would have constituted impermissible “claim
                   6 splitting.” See Single Chip Sys. Corp. v. Intermec IP Corp., 495 F. Supp. 2d 1052,
                   7 1058 (S.D. Cal. 2007).5 But neither the SDNY defendants nor Defendants here
                   8 ever objected to such purported claim splitting. Instead, having litigated both cases
                   9 for several years, Defendants are belatedly attempting to “cherry pick” a single
              10 favorable ruling – in an interlocutory order that did not dismiss any of the other
              11 pending claims – and argue this order must be given res judicata effect. The law
              12 forbids this sort of gamesmanship. Rotec Indus., Inc. v. Mitsubishi Corp., 348 F.3d
              13 1116, 1119 (9th Cir. 2003) (“There is no reason to allow litigants to delay
              14 objecting to dual proceedings until they receive a favorable judgment in one
              15 proceeding. We believe that permitting such conduct could only encourage
              16 mischief.”); Super Van Inc. v. City of San Antonio, 92 F.3d 366, 371 (5th Cir.
              17 1996) (“A contrary rule, one imposing res judicata despite a defendant’s . . .
              18 acquiescence in the splitting of the claim, would encourage litigants to engage in
              19 dishonest (or at least less than forthright) behavior to gain tactical advantage.”).
              20                By failing at the outset to object to claim splitting, Defendants waived any
              21 ability to claim res judicata here based on the SDNY Opinion.6
              22
                        5
                        “To determine if the doctrine of claim splitting applies to bar a subsequent
              23 case, the Ninth Circuit borrows from the test for claim preclusion [i.e., res
                 judicata].” Id. Thus, the “most important criterion . . . is whether the two suits
              24 arise out of the same transactional nucleus of facts.” Bojorquez v. Abercrombie &
                 Fitch, Co., 193 F. Supp. 3d 1117, 1123 (C.D. Cal. 2016).
              25
                 6
                        As the Restatement (Second) of Judgments explains:
              26
                        Where the plaintiff is simultaneously maintaining separate actions
              27        based upon parts of the same claim, and in neither action does the
                        defendant make the objection that another action is pending based on
              28        the same claim, judgment in one of the actions does not preclude the
                       US-DOCS\96629573                                  PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO
ATTORNEYS AT LAW
  LOS ANGELES                                                       8          DISMISS CONSOLIDATED AMENDED COMPLAINT
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                   1                      3.   The Bascuñán Decision was Reversed on Appeal
                   2            Defendants’ res judicata argument also fails because the decision on which
                   3 the SDNY Opinion was based has since been reversed. Carter v. United States,
                   4 973 F.2d 1479, 1482 (9th Cir. 1992) (holding res judicata is “unwarranted if there
                   5 has been a significant change in the legal climate”) (quotation marks omitted).
                   6            In denying the motion for certification, the SDNY court recognized “there
                   7 exists a substantial ground for difference of opinion with respect to the December
                   8 23 Order,” which “analyzed an emergent and potentially difficult issue presented
                   9 by the Supreme Court’s decision in RJR Nabisco,” but it concluded an appeal of its
              10 decision was unnecessary, because it would be duplicative of the pending appeal in
              11 Bascuñán. (RJN Ex. K, at 3, 6 (reasoning “the Court of Appeals is scheduled to
              12 hear argument at the end of the month in plaintiffs’ appeal . . . in Bascuñán v.
              13 Elsaca,” which “presents the opportunity to apply RJR Nabisco’s domestic-injury
              14 rule to a set of alleged facts featuring many of the same elements on which the
              15 parties’ arguments turn here”).) The SDNY Opinion itself similarly recognized
              16 that it was based on the “Bascuñán rule.” See City of Almaty v. Ablyazov, 226 F.
              17 Supp. 3d 272, 284 (S.D.N.Y. 2016) (“This Court agrees that the Bascuñán rule is
              18 consistent with the Supreme Court’s focus in assessing the extraterritoriality of
              19 Section 1964(c) on injuries ‘suffered overseas.’”).
              20                As discussed below, the Second Circuit subsequently reversed the district
              21 court’s decision in Bascuñán (see infra Section III.B.2), fatally undermining the
              22
                                plaintiff from proceeding and obtaining judgment in the other action.
              23                The failure of the defendant to object to the splitting of the plaintiff’s
                                claim is effective as an acquiescence in the splitting of the claim.
              24
                 Id. at § 26(1)(a), comment a; Trujillo v. City of Ontario, 269 F. App’x 683, 684
              25 (9th Cir. 2008) (“As a matter of law, we have ruled that parties who agree to split
                 claims may waive res judicata effect. . . . We have adopted the Restatement
              26 (Second) of Judgments [§ 26(1)(a)]”); see also, e.g., Super Van Inc., 92 F.3d at 371
                 (“Despite being fully informed and having ample opportunity to do so, none of the
              27 defendants objected to the splitting of the claims. . . . Because they acquiesced in
                 the splitting of the claims, we hold that the district court erred in holding that the
              28 instant suit is barred by res judicata.”).
                       US-DOCS\96629573                                    PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO
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                   1 legal basis of the SDNY Opinion, which presumably will be revised prior to final
                   2 judgment. See Fed. R. Civ. P. 54(b) (interlocutory orders “may be revised at any
                   3 time before the entry of a judgment”). Res judicata cannot be applied here.7
                   4            B.        Almaty has Alleged a “Domestic Injury”
                   5            The Supreme Court addressed the extraterritorial application of RICO in
                   6 RJR Nabisco, Inc. v. European Cmty., 136 S. Ct. 2090 (2016). The Court held
                   7 that, while a RICO claim may be based on the commission of certain predicate acts
                   8 in foreign countries, id. at 2105, and the alleged RICO enterprise may comprise (in
                   9 whole or in part) foreign entities, id. at 2104, a civil plaintiff must allege some
              10 form of “domestic injury to its business or property,” id. at 2106. Because the
              11 plaintiffs had disclaimed any “domestic injury” in that case, the Court declined to
              12 decide what might constitute a “domestic injury,” observing only that this inquiry
              13 would depend on the particular facts alleged in a given case. Id. at 2111 (“The
              14 application of this rule in any given case will not always be self-evident, as
              15 disputes may arise as to whether a particular alleged injury is ‘foreign’ or
              16 ‘domestic.’”). The Court further instructed, however, that the domicile of a foreign
              17 plaintiff was not determinative. Id. at 2110, n.12 (the domestic injury requirement
              18 “does not mean that foreign plaintiffs may not sue under RICO”).
              19                Here, Defendants’ contention that Almaty has not alleged a “domestic
              20 injury” relies on the so-called “residency-based” test adopted in Bascuñán (see
              21 Mot., at 15-16), which was inconsistent with RJR Nabisco and has now been
              22 rejected by both the Second Circuit and a leading case in this district (Tatung v.
              23
                        7
              24               Defendants’ Motion does not raise the issue of issue preclusion (sometimes
                        referred to as collateral estoppel), which, while related to res judicata, is subject to
              25        distinct legal requirements. In any event, any claim of issue preclusion would fail
                        for many of the same reasons set forth above, including: (1) no “final judgment”;
              26        (2) no identity of issues; (3) the reversal of Bascuñán; and (4) waiver. See also
                        Stulberg v. Intermedics Orthopedics, Inc., 997 F. Supp. 1060, 1065 (N.D. Ill. 1998)
              27        (“[B]y failing to timely object to separate actions, a defendant is deemed to
                        acquiesce in the plaintiff’s simultaneous suits and waives any res judicata or
              28        collateral estoppel defense.”) (collecting cases from 1st, 5th, 7th & 9th Circuits).
                       US-DOCS\96629573                                   PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO
ATTORNEYS AT LAW
  LOS ANGELES                                                      10           DISMISS CONSOLIDATED AMENDED COMPLAINT
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                   1 Hsu).8 Under the correct legal standard, RJR Nabisco and its progeny make clear
                   2 that the CAC properly alleges a “domestic injury” on at least two alternative bases:
                   3 (1) Defendants’ injury-producing conduct occurred in the U.S.; and (2) Defendants
                   4 harmed Almaty and Almaty’s property interests in the U.S.
                   5
                                          1.   Almaty Suffered Domestic Injury Because it was Harmed by
                   6                           Unlawful Conduct that Occurred in the U.S.
                   7            Because Defendants engaged in injury-producing racketeering activities in
                   8 the U.S., Almaty has alleged a “domestic injury” under RJR Nabisco.
                   9            The Court in RJR Nabisco mandated a two-step framework for evaluating
              10 the potential extraterritorial application of a statute. At step one, a court must
              11 analyze the statute’s text to determine whether Congress intended the statute to
              12 apply extraterritorially. RJR Nabisco, 136 S. Ct. at 2101. If not, the court must
              13 then determine (at step two) whether the case involves a permissible “domestic
              14 application of the statute.” Id. This second step is accomplished by examining the
              15 statute’s “focus.” Id. “If the conduct relevant to the statute’s focus occurred in the
              16 United States, then the case involves a permissible domestic application, even if
              17 other conduct occurred abroad.” Id. As discussed above, the Court concluded (at
              18 step one) that RICO’s private right of action provision, 18 U.S.C. § 1964(c), does
              19 not apply extraterritorially, id. at 2101, but the Court expressly declined to define
              20 what (under step two) constitutes a “domestic injury” under the statute. That issue
              21 must be resolved in any particular case involving section 1964(c), as with all
              22 federal laws, by reference to whether “conduct relevant to the statute’s focus
              23 occurred in the United States.” Id. at 2101.
              24
              25
                        8
              26       Virtually all of the cases on which Defendants rely – including the SDNY
                 Opinion on which they erroneously assert res judicata – explicitly adopted this
              27 now-defunct test. (See Mot., at 5-9, 14-17 (citing City of Almaty v. Ablyazov,
                 Absolute Activist Value Master Fund Ltd. v. Devine, Dandong v. Hu, Li Lan v.
              28 Walsh, Exceed Indus., LLC v. Younis., Bascuñán v. Elsaca (district court opinion).)
                       US-DOCS\96629573                                 PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO
ATTORNEYS AT LAW
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                   1            The “focus” of section 1964(c) (and its treble damages provision) is
                   2 deterrence: “The object of civil RICO is thus not merely to compensate victims
                   3 but to turn them into prosecutors, ‘private attorneys general,’ dedicated to
                   4 eliminating racketeering activity. . . . The provision for treble damages is
                   5 accordingly justified by the expected benefit of suppressing racketeering activity,
                   6 an object pursued the sooner the better.” Rotella v. Wood, 528 U.S. 549, 557-58
                   7 (2000). The “conduct relevant to [section 1964(c)’s] focus” is thus the conduct it
                   8 was enacted to deter, i.e., the racketeering activity itself. Accordingly, where a
                   9 defendant engages in racketeering activities in the U.S. that injure the plaintiff, that
              10 plaintiff has suffered a “domestic injury” under RJR Nabisco.9 See RJR Nabisco,
              11 136 S. Ct. at 2104 (“Congress, after all, does not usually exempt foreigners acting
              12 in the United States from U.S. legal requirements.”). No other conclusion would
              13 make sense. It is inconceivable that Congress intended to deny a remedy in the
              14 U.S. for illegal acts committed here, regardless of where the victims are domiciled.
              15                Almaty has amply alleged domestic injuries from crimes committed in the
              16 U.S. The CAC alleges two related, but distinct, RICO schemes: the embezzlement
              17 of funds in Kazakhstan and the extensive laundering and conversion of stolen
              18 money in the U.S. (CAC, ¶¶ 20; 83-157.) The CAC further alleges that the latter
              19 domestic acts of money laundering injured Almaty – on top of the injuries caused
              20 by the underlying embezzlement – both by (1) concealing Almaty’s property and
              21 depriving Almaty of its use (id. at ¶ 113) and (2) causing Almaty to devote
              22 substantial monies and time “in the United States” (including, e.g., by sending
              23 representatives to the U.S.) to trace and recover its stolen property (id. at ¶ 84).
              24 Almaty has accordingly alleged the “domestic injury” required under RJR Nabisco.
              25
                        9
              26        While the Court in RJR Nabisco observed in passing that some predicate
                 acts in that case were alleged to have occurred in the U.S., it did not address
              27 whether those acts were sufficient to establish a “domestic injury.” The Court
                 explicitly declined to address that issue because the plaintiffs had stipulated to the
              28 district court that their injuries were foreign. RJR Nabisco, 136 S. Ct. at 2111.
                       US-DOCS\96629573                                  PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO
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                   1 See Maiz v. Virani, 253 F.3d 641, 674 (11th Cir. 2001) (“Defendants’ money
                   2 laundering and related [] offenses injured the Plaintiffs by allowing Defendants to
                   3 continue to deprive the Plaintiffs of the use and benefit” of the misappropriated
                   4 funds); Exec. Comm. Representing the Signing Petitioners of the Archdiocese of
                   5 the Western U.S. v. Kaplan, 2004 U.S. Dist. LEXIS 31799, at *11 (C.D. Cal. Sept.
                   6 16, 2004) (“To the extent the predicate acts further the scheme of the defendant,
                   7 the defendant’s actions are said to have caused the injury.”).
                   8            The Motion ignores the CAC’s allegations that, after committing crimes in
                   9 Kazakhstan, Defendants committed myriad illegal acts in violation of RICO in the
              10 U.S., and the Motion therefore fails even to consider this basis for domestic injury.
              11 (Mot., at 16-17.) But as the Second Circuit made clear in Bascuñán, each alleged
              12 RICO scheme, and each alleged injury, must be analyzed separately, and even a
              13 single domestic injury may support a valid RICO claim – “even if all of the other
              14 injuries are foreign.” Bascuñán v. Elsaca, 2017 U.S. App. LEXIS 21519, at *14,
              15 23 (2d Cir. 2017).
              16                Finally, providing a U.S. forum to remedy harms caused by injury-producing
              17 conduct in the U.S. is particularly important where, as here, seeking relief in the
              18 plaintiff’s home country would be “an exercise in futility.” Akishev v. Kapustin,
              19 2016 U.S. Dist. LEXIS 169787, at *20-21 (D.N.J. Dec. 8, 2016) (holding the
              20 plaintiff had alleged a “domestic injury,” where the defendants “[chose] to operate
              21 their fraudulent scheme” in the U.S. and had retained their “ill-gotten proceeds” in
              22 the U.S.). Defendants fled Kazakhstan and conspired to steal and launder money
              23 in the U.S. for the very purpose of rendering the ongoing proceedings in
              24 Kazakhstan and elsewhere an “exercise in futility.” (CAC, ¶¶ 75-157 .) Having
              25 forced Almaty to pursue them (and their “ill-gotten proceeds”) in this forum,
              26 Defendants cannot now claim there has been no domestic injury. Foreclosing such
              27 a foreign plaintiff from seeking redress in U.S. courts for crimes committed in the
              28 U.S. would severely disrupt international comity, not foster it.
                       US-DOCS\96629573                                 PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO
ATTORNEYS AT LAW
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                   1                      2.   Almaty Also Suffered Domestic Injury Because Defendants’
                                               Unlawful Acts Caused Almaty and Almaty’s Property
                   2                           Interests Harm in the U.S.
                   3            As illustrated by the Second Circuit’s recent decision in Bascuñán v. Elsaca,
                   4 Almaty has also suffered a “domestic injury” because Defendants harmed Almaty,
                   5 and misappropriated and harmed Almaty’s property interests, in the U.S.
                   6            In Bascuñán, the district court applied the “residency-based” test in
                   7 dismissing the plaintiff’s RICO claim, reasoning that all of the alleged RICO
                   8 injuries were “suffered” in Chile where the plaintiff resided. Bascuñán, 2017 U.S.
                   9 App. LEXIS 21519, at *15. The Second Circuit flatly rejected this test, reasoning
              10 that “RJR Nabisco took care to make plain that its opinion should not be taken to
              11 ‘mean that foreign plaintiffs may not sue under RICO.’ That, of course, is exactly
              12 the effect of the District Court’s residency-based test.” Id. at *29. Instead, the
              13 Court of Appeals held that while the “mere use of a domestic bank account” does
              14 not “on its own, turn an otherwise foreign injury into a domestic one,” id. at *26,
              15 the “misappropriation of tangible property located in the United States . . . causes a
              16 ‘domestic injury’ for purposes of civil RICO, even if the owner of the property
              17 resides abroad.” Id. at *36. Analogizing to conversion law, which it deemed a
              18 “particularly appropriate comparison,” id. at *28 n.56, the Court further reasoned
              19 that money is a form of property, and an injury to the plaintiff’s money is thus
              20 “analogous to an injury to tangible property, by which we mean property that can
              21 be fairly said to exist in a precise location.” Id. at *27. The Court thus made clear
              22 that the particular form of property interest harmed – e.g., real property, chattels, or
              23 funds held in a “trust” – is irrelevant, so long as it “could be located within the
              24 jurisdiction of the United States.” Id. at *32.
              25                As part of their U.S. money laundering scheme, Defendants repeatedly
              26 transferred stolen assets between individual and entity co-conspirators within the
              27 U.S. (CAC, ¶¶ 83-103), and cycled these stolen assets through various forms,
              28 including money, chattels, multi-million dollar parcels of real estate and sham
                       US-DOCS\96629573                                   PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO
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                   1 domestic business ventures. (Id., ¶¶ 104-152.) Analogizing to conversion law,
                   2 which Bascuñán instructs is a “particularly appropriate comparison,” each act of
                   3 transferring Almaty’s stolen funds to a co-conspirator in the U.S. constituted a
                   4 separate act of domestic conversion. Marei von Saher v. Norton Simon Museum of
                   5 Art at Pasadena, 2015 U.S. Dist. LEXIS 188627, at *18 (C.D. Cal. Apr. 2, 2015)
                   6 (“Under California law, each time stolen property is transferred to a new possessor,
                   7 a new tort or act of conversion has occurred.”). Defendants have thus repeatedly
                   8 converted Almaty’s property within the jurisdiction of the U.S., and thereby caused
                   9 Almaty “domestic injury.” Bascuñán, 2017 U.S. App. LEXIS 21519, at *6
              10 (“Because this property was located within the United States when it was stolen,
              11 we conclude that Bascuñán has plausibly alleged a domestic injury
              12 notwithstanding the fact that he is a citizen and resident of Chile.”).
              13              Indeed, it is firmly established that, under California law, Almaty had a
              14 domestic interest in property from the moment Defendants first acquired assets in
              15 the U.S. with stolen funds:
              16              It is hornbook law that, when a fraudster acquires property from a
              17              victim by fraud, the fraudster holds the property in constructive trust
                              for his victim. Thus, “[i]t is an elementary mistake to suppose that a
              18              court creates the trust. The expression ‘the court constructs the trust’
                              is ‘absurd.’ [ ] The obligation on the fraudster is imposed by law and
              19              arises immediately with his acquisition of the proceeds of the fraud.

              20 Sec. & Exch. Comm’n v. Private Equity Mgmt. Grp., Inc., 2012 U.S. Dist. LEXIS
              21 195213, at *4 (C.D. Cal. Sept. 28, 2012) (quoting United States v. $4,224,958.57,
              22 392 F.3d 1002, 1004 (9th Cir. 2004)); Cal. Code Civ. Proc. § 2223 (“One who
              23 wrongfully detains a thing is an involuntary trustee thereof, for the benefit of the
              24 owner.”). In addition to harming Almaty by concealing its stolen funds in the U.S.
              25 and thereby causing Almaty to incur substantial expenses “in the United States” to
              26 trace and recover its stolen assets (CAC, ¶¶ 84, 113, 118, 125, 136, 145; supra
              27 Section III.B.1), Defendants also harmed Almaty’s California property rights by
              28 (among other things) unlawfully liquidating real property in which Almaty had a
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                   1 cognizable property interest, and absconding with the proceeds. (See CAC,
                   2 ¶¶ 133-51.)10
                   3            Moreover, Almaty is separately entitled to the appreciation in value of the
                   4 property Defendants purchased with its stolen funds. See Private Equity Mgmt.
                   5 Grp., 2012 U.S. Dist. LEXIS 195213, at *6 (“[T]he beneficiary of the constructive
                   6 trust is generally entitled to the enhancement in value of the trust property.”).
                   7 Here, Defendants made millions of dollars in profits by “flipping” California real
                   8 estate in which Almaty had (and has) enforceable property rights.11 Almaty has
                   9 suffered additional domestic injury through Defendants’ ongoing refusal to
              10 disgorge these profits, which were derived entirely from domestic real property.
              11                          3.   Tatung Affirms that Almaty Suffered a “Domestic Injury”
              12                The holding in Tatung Co. v. Hsu further affirms that Almaty has alleged a
              13 “domestic injury,” based on both (1) Defendants’ injury-producing conduct in the
              14 U.S., and (2) the harm to Almaty’s property rights (and Almaty itself) in the U.S.
              15                Like the Second Circuit in Bascuñán, the district court in Tatung rejected the
              16 “residency-based” test for domestic injury, reasoning it would be “ludicrous” to
              17 prevent foreign plaintiffs from suing under RICO, even where “the actions causing
              18 the injury took place in the United States,” or where the injuries occurred “while
              19 they [were] working, traveling, or doing business in this county[.]” Tatung Co.,
              20 Ltd. v. Hsu, 217 F. Supp. 3d 1138, 1155 (C.D. Cal. 2016). There, the defendants
              21
                 10
              22 event, California  law governs the property interests at issue here. And in any
                         even courts that have construed the right to seek a constructive trust more
              23 narrowly   than mandated by California law, see, e.g., United States v. Brimberry,
                 779 F.2d 1339, 1348 (8th Cir. 1985) (reasoning “[u]ntil a court grants the victim
              24 such  a constructive trust remedy, however, the victim merely has a right to seek
                 such a remedy”), have nonetheless recognized that “[a] right to seek a constructive
              25 trust over specific property is a property interest in itself.” Id. This property
                 interest, on its own, is sufficient to support a “domestic injury” under Bascuñán.
              26 See  Bascuñán, 2017 U.S. App. LEXIS 21519, at *32 (holding the particular form
                 of property interest is irrelevant, so long as it can be deemed “located within the
              27 jurisdiction
                 11
                              of the United States”).
                        Defendants, e.g., purchased property at 606 N Alta, Beverly Hills for $5.45
              28 million and sold it sixteen months later for $6.97 million. (CAC, ¶¶ 116, 139.)
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                   1 had conspired to siphon funds from a U.S.-based debtor of the plaintiff, leaving the
                   2 debtor an “empty shell” that was unable to pay an arbitration award in the
                   3 plaintiff’s favor. Id. at 1156. Reasoning the arbitration award was a form of
                   4 “property” under California law, and “[a]t least one of the eventual transferees was
                   5 an American corporation,” the court held that the plaintiff had suffered a domestic
                   6 injury under RJR Nabisco, because the “‘defendants specifically targeted their
                   7 conduct at California’ with the aim of ‘thwarting [plaintiff’s] rights in California.’”
                   8 Id. Distinguishing Uthe Tech. Corp. v. Allen, upon which Defendants rely here
                   9 (Mot., at 16-17), the court emphasized that “many of the actions that constitute part
              10 of the RICO scheme took place in California.” Id. at 1157.
              11              Here, as in Tatung, “many of the actions that constitute part of the RICO
              12 scheme took place in California” (CAC, ¶¶ 83-158); several conspirators are U.S.-
              13 based individuals and entities (id., ¶¶ 11-12); and Defendants specifically targeted
              14 their conduct at California to thwart Almaty’s rights in California (see supra
              15 Section III.B.2), by siphoning money out of domestic entities and real property in
              16 which Almaty had a cognizable property interest. (Id., ¶¶ 108, 139, 141, 148-51.)
              17 Indeed, Defendants sold several California properties after this action was filed
              18 (siphoning roughly $14 million out of the state) in order to prevent Almaty from
              19 recovering those funds by way of a constructive trust or otherwise. (Id., ¶¶ 150-
              20 51.) This transparent attempt to thwart Almaty’s rights under U.S. and California
              21 law, on its own, satisfies the domestic injury requirement.
              22              C.        Almaty’s Claims are Timely
              23              Defendants’ contention that Almaty’s claims are time-barred is both
              24 incorrect and premature, as it calls for factual determinations that cannot be made
              25 at this stage.12
              26      12
                        Defendants’ Motion seems to suggest that Kazakh law should govern the
              27 applicable statute of limitations (Mot., at 18-19), but it then acknowledges that the
                 underlying limitations period is the same under both California and Kazakh law
              28 (three years) (Mot., at 19 n.7), and affirms that the date on which Almaty’s claims
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                   1             Almaty’s claims accrued for statute of limitations purposes when it
                   2 “discover[ed] or should have discovered” the basis of those claims. (Mot., at 19.)
                   3 The date on which this occurred is a “question of fact,” Fox v. Ethicon Endo-
                   4 Surgery, Inc., 35 Cal. 4th 797, 810 (2005), that can be resolved on the pleadings
                   5 only if “it appears beyond doubt that the plaintiff can prove no set of facts that
                   6 would establish the timeliness of the claim.” Supermail Cargo, Inc. v. United
                   7 States, 68 F.3d 1204, 1207 (9th Cir. 1995). Here, Defendants admit the “CAC
                   8 does not explicitly state when Almaty discovered Viktor’s and his alleged co-
                   9 conspirators’ [mis]conduct[.]” (Mot., at 19.) This admission is dispositive, and
              10 Defendants’ timeliness challenge fails on this basis alone.
              11                Defendants nonetheless argue that since “Kazakh authorities” – not Almaty
              12 – allegedly began investigating Defendants in 2007, Almaty’s claims must be time-
              13 barred. (Mot., at 19.) To the extent Defendants contend the national government’s
              14 investigation (that is not alleged to have been public) should have put Almaty on
              15 notice of its claims, this too is a fact question that cannot be resolved at this time.
              16 Cleveland v. Internet Specialties West, Inc., 171 Cal. App. 4th 24, 31 (2009)
              17 (“[W]hether [plaintiff] exercised reasonable diligence [for accrual purposes] is a
              18 question of fact for the court or jury to decide.”) (quotations omitted).
              19                Defendants also ignore the CAC’s core reliance on Defendants’ ongoing
              20 pattern of misconduct in the U.S. after the initial embezzlement of funds. Aryeh v.
              21 Canon Bus. Sols., Inc., 55 Cal. 4th 1185, 1192 (2013) (“The continuing violation
              22 doctrine aggregates a series of wrongs or injuries for purposes of the statute of
              23
                 “accrued” for limitations purposes is governed by California and U.S. law. (Mot.,
              24 at 19); see also, e.g., Deirmenjian v. Deutsche Bank, A.G., 2006 WL 4749756, at
                 *32 n.163 (C.D. Cal. Sept. 25, 2006) (California law governs “when the claim
              25 accrued,” even when applying “borrow[ed]” limitations period). In any event,
                 none of Almaty’s claims are time-barred under Kazakh law, which provides
              26 numerous bases to toll or otherwise suspend the operative limitations period
                 (including suspending the limitations period where, as here, related criminal
              27 investigations are pending), and any attempt to argue otherwise would be
                 premature, as these issues may be resolved under Kazakh law only after a “hearing
              28 on the merits.” (See Declaration of Alexander Korobeinikov.)
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                   1 limitations, treating the limitations period as accruing for all of them upon
                   2 commission or sufferance of the last of them.”). Defendants’ pattern of
                   3 misconduct continued well after the filing of this action, including as recently as
                   4 August 2016. (CAC, ¶ 151.) Almaty’s claims are timely on this basis as well.
                   5            Even if Defendants’ misconduct were not deemed a “continuing violation,”
                   6 the result would be the same, because each unlawful transfer of stolen property in
                   7 the U.S. would then constitute a separate violation of California law, for which the
                   8 statute of limitations began running anew. Marei, 2015 U.S. Dist. LEXIS 188627,
                   9 at *18 (“Under California law, each time stolen property is transferred to a new
              10 possessor, a new tort or act of conversion has occurred.”); Soc’y of Cal. Pioneers v.
              11 Baker, 43 Cal. App. 4th 774, 782-83 (1996) (“[T]he statute of limitations in an
              12 action concerning stolen property [runs] anew against a subsequent purchaser.”);
              13 Yamauchi v. Cotterman, 84 F. Supp. 3d 993, 1014 (N.D. Cal. 2015) (“Separate,
              14 recurring breaches of fiduciary duty may provide a basis for the application of
              15 continuous accrual, where each violation triggers its own statute of limitations.”);
              16 Sherwin-Williams Co. v. JB Collision Servs., Inc., 2014 WL 5112057, at *6 (S.D.
              17 Cal. Oct. 10, 2014) (duty not to commit fraud is “a continuing one, susceptible to
              18 recurring breaches”). Almaty’s conspiracy claim similarly did not accrue until
              19 “the date of the commission of the last overt act in pursuance of the conspiracy”
              20 (Mot., at 20), which occurred in August 2016 (at the latest), well after this action
              21 was filed (see CAC, ¶ 151).
              22                Almaty’s claims are additionally timely under the doctrine of equitable
              23 tolling, which “applies when the plaintiff is prevented from asserting a claim by
              24 wrongful conduct on the part of the defendant[.]” Stoll v. Runyon, 165 F.3d 1238,
              25 1242 (9th Cir. 1999); Lewis v. Superior Court, 175 Cal. App. 3d 366, 372 (1985)
              26 (same). Here, Defendants fled Kazakhstan and engaged in a worldwide conspiracy
              27 to steal and launder money for the very purpose of hiding their misconduct,
              28 “concealing the source of the stolen funds” (CAC, ¶ 86), and preventing Almaty
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                   1 from discovering (or pursuing) their claims in the U.S. (Id., ¶¶ 75-157.)
                   2            Finally, Defendants’ arguments regarding the timeliness of Almaty’s RICO
                   3 claim are likewise baseless. “Because a RICO cause of action cannot accrue until
                   4 all the elements exist, . . . no statute of limitations can begin to tick until a pattern
                   5 exists[.]” Grimmett v. Brown, 75 F.3d 506, 512 (9th Cir. 1996). Here, Almaty’s
                   6 RICO claim is predicated on Defendants’ pattern of U.S. money-laundering
                   7 activities (see CAC, ¶¶ 159-169), which allegedly began in October 2010 (CAC,
                   8 ¶ 111). Almaty filed this action on May 13, 2014, well before the earliest possible
                   9 expiration of the four-year limitations period (i.e., in October 2014, four years after
              10 the alleged pattern first came into existence). As with Almaty’s state law claims,
              11 the date on which Almaty “knew or should have known” of its RICO injuries
              12 (Mot., at 20) is a fact question that cannot be resolved at this stage. Living
              13 Designs, Inc. v. E.I. Dupont de Nemours & Co., 431 F.3d 353, 365 (9th Cir. 2005).
              14 In any event, where “the alleged wrongful conduct is continuing in nature, . . . the
              15 statute of limitations does not begin to run [on a RICO claim] until the wrongful
              16 conduct ends.” Mir v. Deck, 2013 WL 4857673, at *7 (C.D. Cal. Sept. 11, 2013)
              17 (citing Flowers v. Carville, 310 F.3d 1118, 1126 (9th Cir. 2002)). Here, the
              18 wrongful conduct continued through (at least) August 2016. (CAC, ¶ 151.)13
              19 Finally, Almaty’s RICO claim is also timely under the doctrine of equitable tolling,
              20 for the reasons discussed above. See, e.g., McCool v. Strata Oil Co., 972 F.2d
              21 1452, 1465 (7th Cir. 1992) (equitable tolling applies to RICO claims).
              22                D.        This Court Has Personal Jurisdiction Over All Defendants
              23                Defendants’ contention that this Court lacks personal jurisdiction over
              24 Viktor, Leila, Iliyas and Madina (whom they label “Swiss Defendants”) because
              25 these individuals reside in Switzerland (Mot., at 21) fails as a matter of law.
              26        13
                       Even if Defendants’ racketeering activities were not deemed a continuing
              27 RICO violation, each transaction alleged in the CAC would then constitute a new
                 and independent act, giving rise to a separate accrual period. See Grimmett, 75
              28 F.3d at 510-14; Bankers Tr. Co. v. Rhoades, 859 F.2d 1096, 1105 (2d Cir. 1988).
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                   1            As an initial matter, Defendants do not and cannot challenge this Court’s
                   2 jurisdiction over any of the non-“Swiss Defendants,” which include two
                   3 individuals who reside in California (Elvira and Dmitry), and numerous U.S. and
                   4 California shell entities that were used to carry out Defendants’ U.S. money
                   5 laundering scheme. (CAC, ¶¶ 10-13.) Nor do Defendants dispute that these
                   6 California-based Defendants were acting as agents of the Swiss Defendants (CAC,
                   7 ¶ 15) when they converted and laundered money in California (id., at ¶¶ 111-20,
                   8 123-27, 133-39, 142, 144-47, 150-52). To the contrary, Defendants expressly rely
                   9 on these agency allegations in their Motion. (Mot., at 13 (“[A]ll defendants,
              10 including the entities, were at all times ‘[a]gents . . . of the Individual Defendants,’
              11 including Viktor and Iliyas.”).) Swiss Defendants’ jurisdictional challenge fails on
              12 this basis alone. See Dole Food Co., Inc. v. Watts, 303 F.3d 1104, 1108 (9th Cir.
              13 2002) (“uncontroverted allegations in the complaint must be taken as true” for
              14 personal jurisdiction analysis); Rutter Group Prac. Guide, Fed. Civ. Proc. Before
              15 Trial, § 3:83 (2017) (“Agent’s acts imputed to principal” for personal jurisdiction
              16 analysis) (collecting cases).
              17                In any event, courts may exercise personal jurisdiction over non-resident
              18 defendants where they “have at least ‘minimum contacts’ with the relevant forum
              19 such that the exercise of jurisdiction ‘does not offend traditional notions of fair
              20 play and substantial justice.’” Dole, 303 F.3d at 1110 (citations omitted). Courts
              21 thus may exercise “specific jurisdiction” where the following requirements are
              22 met: “(1) [t]he non-resident defendant must purposefully direct his activities or
              23 consummate some transaction with the forum or resident thereof; or perform some
              24 act by which he purposefully avails himself of the privileges of conducting
              25 activities in the forum, thereby invoking the benefits and protections of its laws;
              26 (2) the claim must be one which arises out of or relates to the defendant’s forum-
              27 related activities; and (3) the exercise of jurisdiction must comport with fair play
              28
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                   1 and substantial justice, i.e. it must be reasonable.” Id. at 1111. All of these
                   2 requirements are met here.
                   3                      1.   Defendants Purposely Directed Their Activities at California
                   4            “[P]urposeful availment is satisfied even by a defendant ‘whose only
                   5 ‘contact’ with the forum state is the ‘purposeful direction’ of a foreign act having
                   6 effect in the forum state.’” Dole, 303 F.3d at 1111 (citation omitted). Personal
                   7 jurisdiction is thus appropriate under the so-called “effects test” where a non-
                   8 resident defendant “(1) committed an intentional act, (2) expressly aimed at the
                   9 forum state, (3) causing harm that the defendant knows is likely to be suffered in
              10 the forum state.” Id. Even a “single forum state contact can support jurisdiction”
              11 under this test. Menken v. Emm, 503 F.3d 1050, 1058 (9th Cir. 2007).
              12                Here, Swiss Defendants do not and cannot dispute that they (1) committed
              13 intentional acts (2) aimed at California. (Mot., at 23.) Swiss Defendants not only
              14 transferred stolen funds from Switzerland into the U.S. in order to launder those
              15 funds through California real estate (CAC, ¶¶ 116-20, 123-27) – which is sufficient
              16 on its own to establish personal jurisdiction – but they also personally participated
              17 in these California money laundering activities. Iliyas and Madina, for example,
              18 purchased two multi-million dollar homes in Beverly Hills, California (at 606 N.
              19 Alta and 628 N. Alta) with stolen funds wired from Switzerland. (CAC, ¶¶ 116-
              20 20, 123-27; Declaration of Jonathan M. Jackson (“Jackson Decl.”), Exs. 4-10.)
              21 While they used various shell companies and co-conspirators to effectuate these
              22 purchases, the limited discovery to date makes clear that they participated in and
              23 controlled both transactions. (CAC, ¶¶ 117-18, 124-25; Jackson Decl., Ex.1, at 5
              24 (email from Iliyas and Madina’s real estate agent, Zach Goldsmith, congratulating
              25 Iliyas on acceptance of offer for 606 N. Alta; Iliyas instructing attorney Marc
              26 Gillieron to wire purchase price); id. at Ex. 2 (Goldsmith referring to Iliyas as “the
              27 boss” and “the main guy who controls the entity and makes the decisions”); id. at
              28 Ex. 3 (Goldsmith referring to Iliyas as owner of 628 Holdings); see also
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                   1 Consolidated Case No. 15-cv-02628, Dkt. 30, Exhibits 2, 3, 2914 (exhibits showing,
                   2 respectively, (1) that Madina agreed to $6.2 million purchase price for 628 N. Alta;
                   3 (2) that Madina considered 606 N. Alta a “leading candidate;” and (3) Iliyas
                   4 confirming meeting at 606 N. Alta property with Goldsmith).)
                   5            So-called “Swiss Defendant” Leila not only participated in the laundering of
                   6 funds through California real estate, but she also received checks payable to her
                   7 personal address in Studio City, California. (Jackson Decl., Ex.11, at 8-10.)
                   8 Indeed, subject to further discovery, Leila may well be subject to this Court’s
                   9 “general jurisdiction” based on her California residence. (Cf. Mot., at 22.)
              10                Defendants’ sole argument regarding the first prong of the jurisdictional
              11 analysis is that, because Almaty does not reside in California, the harm caused by
              12 Defendants was not “felt” in California and was instead “felt halfway around the
              13 globe, in Kazakhstan.” (Mot., at 23.) But any supposed “residency-based”
              14 requirement has been rejected in the personal jurisdiction context, just as it has
              15 been rejected in the RICO “domestic injury” analysis. See Tatung Co., Ltd. v. Hsu,
              16 43 F. Supp. 3d 1036, 1049 (C.D. Cal. 2014) (“[P]laintiff’s residence in the forum
              17 State is not a separate requirement, and lack of residence will not defeat
              18 jurisdiction established on the basis of defendant’s contacts.”) (quoting Keeton v.
              19 Hustler Magazine, Inc., 465 U.S. 770, 775 (1989)). As discussed above,
              20 Defendants’ extensive acts of conversion and money laundering in California,
              21 including the unlawful purchase and sale of millions of dollars of real estate in
              22 California, caused Almaty harm in California. (See supra Section III.B.1-3).
              23                Indeed, even if Defendants were correct that most of the harm they caused
              24 was “felt” in Kazakhstan, this would be legally irrelevant for jurisdictional
              25
                        14
              26        By this Court’s Order entered August 24, 2015 (No. 15-cv-02628, Dkt. 29)
                 these exhibits were filed under seal (No. 15-cv-02628, Dkt. 30) as exhibits to the
              27 Gerchik Declaration in Support of Plaintiff’s Opposition to Motion to Dismiss (No.
                 15-cv-02628, Dkt 28-1). For the convenience of the Court and the parties, Plaintiff
              28 is re-submitting these exhibits under seal concurrently herewith.
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                   1 purposes. Yahoo! Inc. v. La Ligue Contre Le Racisme Et L’Antisemitisme, 433
                   2 F.3d 1199, 1207 (9th Cir. 2006) (holding “the ‘brunt’ of the harm need not be
                   3 suffered in the forum state. If a jurisdictionally sufficient amount of harm is
                   4 suffered in the forum state, it does not matter that even more harm might have been
                   5 suffered” elsewhere). The CAC alleges that Defendants’ California money
                   6 laundering activities “caused additional harm to Almaty in the United States by
                   7 [among other things] preventing Almaty access to its property and [making] it
                   8 more difficult and costly for Almaty to trace and recover its U.S.-based assets.”
                   9 (CAC, ¶ 113); see also Maiz, 253 F.3d at 674 (“Defendants’ money laundering and
              10 related [] offenses injured the Plaintiffs by allowing Defendants to continue to
              11 deprive the Plaintiffs of the use and benefit” of stolen funds).
              12
                                        2.   Almaty’s Claims Arise out of Defendants’ California-
              13                             Related Activities
              14              With respect to the second prong of the personal jurisdiction analysis, “[t]he
              15 claims arise out of a defendant’s forum-related activities if plaintiff would not have
              16 a cause of action ‘but for’ defendant’s contacts with the forum.” Planned
              17 Parenthood of Columbia/Williamette, Inc. v. Am. Coal. of Life Activists, 945 F.
              18 Supp 1355, 1368 (D. Or. 1996) (citing Ziegler v. Indian River Cty., 64 F.3d 470,
              19 474 (9th Cir. 1995)). The “but for” test “should not be narrowly applied; rather,
              20 the requirement is merely designed to confirm that there is some nexus between the
              21 cause of action and defendant’s contact with the forum.” Id.
              22              Here, it is clear that but for Defendants’ extensive California-based money
              23 laundering activities, Almaty would not be suffering harm in California. Instead,
              24 Almaty already would have recovered (or, at a minimum, would be able to recover
              25 more easily) the tens of millions of dollars in stolen funds and assets that
              26 Defendants have unlawfully laundered through, and hidden in, California. (CAC,
              27 ¶¶ 111, 116, 123-24, 128, 133-34, 139, 142, 150-51.)
              28
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                   1                      3.   The Exercise of Personal Jurisdiction is Reasonable
                   2            With respect to the third prong, Defendants bear the burden of “‘present[ing]
                   3 a compelling case’ that the exercise of jurisdiction would not be reasonable.”
                   4 Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004).
                   5 Defendants have not met this heavy burden here.
                   6            In conducting the reasonableness analysis, courts weigh seven factors:
                   7 “(1) the extent of the defendant’s purposeful injection into the forum; (2) the
                   8 defendant’s burdens from litigating in the forum; (3) the extent of conflict with the
                   9 sovereignty of the defendant’s state; (4) the forum state’s interest in adjudicating
              10 the dispute; (5) the most efficient judicial resolution of the controversy; (6) the
              11 importance of the forum to the plaintiff’s interest in convenient and effective relief;
              12 and (7) the existence of an alternative forum.” Ziegler, 64 F.3d at 475.
              13                As discussed above, Swiss Defendants’ purposeful injection into California
              14 (Factor 1) has been extensive, and included numerous acts of conversion, real
              15 estate purchases and banking transactions in and to this state. (See supra Section
              16 III.D.1.) Any purported burden of litigating in California (Factor 2) is minor.
              17 Swiss Defendants were not unduly “burdened” when they purchased homes in
              18 California, and they cannot now claim an excessive burden in having to defend this
              19 action based directly on those purchases. As noted above, numerous other
              20 Defendants and co-conspirators (including two of Swiss Defendants’ family
              21 members) reside in California, and Swiss Defendants have already hired competent
              22 local counsel to defend them in this district. The minimal burden of litigating here
              23 cannot outweigh Almaty’s interest in recovering its stolen property in this forum.
              24 See, e.g., Sinatra v. Nat’l Enquirer, Inc., 854 F.2d 1191, 1199 (9th Cir. 1988)
              25 (recognizing that “modern advances in communications and transportation have
              26 significantly reduced the burden of litigating in another country”).
              27                While Defendants claim there is a risk of conflict with Swiss tribunals
              28 (Factor 3) “because the Swiss authorities have been investigating Almaty’s
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                   1 allegations against the Swiss Defendants since 2012” (Mot. at 25), the Swiss
                   2 Government is investigating Defendants for acts of theft and money laundering in
                   3 Switzerland in violation of Swiss law. Nothing in Defendants’ Motion suggests
                   4 that Swiss authorities intend to investigate or prosecute the conduct at issue here,
                   5 which occurred in the U.S. in violation of U.S. and California law.
                   6            California’s interest in this dispute (Factor 4) has already been recognized by
                   7 the Ninth Circuit. City of Almaty v. Khrapunov, 685 F. App’x. 634, 636 (9th Cir.
                   8 2017) (“Almaty’s challenge focuses on allegedly unlawful activities that occurred
                   9 within California, which vests California with an interest in the dispute.”).
              10 California also provides the most efficient forum in which to resolve this action
              11 (Factor 5), which concerns California and U.S.-based conduct in violation of
              12 California and U.S. law. Key evidence regarding Defendants’ property purchases
              13 and other money laundering activities is located in California, including potential
              14 witnesses (e.g., Iliyas’s real estate agent, Mr. Goldsmith, and accountant, Amnon
              15 Mizrahi) and related documents (banking statements, escrow documents, etc.). See
              16 Caruth v. Int’l Psychoanalytical Ass’n, 59 F.3d 126, 129 (9th Cir. 1995) (when
              17 determining which forum will provide the most efficient resolution, courts look to
              18 where witnesses and evidence are likely to be located).
              19                With respect to Factor 6, Defendants baldly assert there is “no credible
              20 reason why Almaty has an interest in litigating here, as opposed to Kazakhstan or
              21 Switzerland[.]” (Mot., at 26.) To the contrary, Defendants forced Almaty to
              22 pursue its claims here when they fled Kazakhstan and laundered millions of dollars
              23 of stolen funds into California real estate. (CAC, ¶¶ 75-157.) Neither Swiss nor
              24 Kazakh courts can provide Almaty the relief it seeks, nor do they have power over
              25 Almaty’s stolen property that remains in California and the U.S.
              26                Finally, while Defendants assert that Switzerland is an adequate alternative
              27 forum (Factor 7), they provide no factual or legal basis for this claim. (Mot., at 26-
              28 27.) Indeed, the Ninth Circuit has already held that Defendants failed to
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                   1 demonstrate Switzerland is an “adequate alternative forum” for this case.
                   2 Khrapunov, 685 F. App’x at 635.
                   3                      4.   At a Minimum, Jurisdictional Discovery is Warranted
                   4            If the Court believes there is any question as to its exercise of personal
                   5 jurisdiction over the “Swiss Defendants,” then it should permit Almaty to conduct
                   6 jurisdictional discovery.15 See Data Disc, Inc. v. Sys. Tech. Assoc., Inc., 557 F.2d
                   7 1280, 1285 n.1 (9th Cir. 1977) (jurisdictional discovery is warranted “where
                   8 pertinent facts bearing on the question of jurisdiction are controverted”).
                   9            This Court’s July 20, 2017 Order instructs that “discovery shall not be
              10 stayed while any motion is pending, including any motion to dismiss,” and “[t]he
              11 parties are directed to conduct any necessary discovery as soon as possible[.]”
              12 (Dkt. No. 138, at 2 (emphasis in original).) Nonetheless, Swiss Defendants have
              13 refused to provide a single, substantive response to Almaty’s repeated discovery
              14 requests, in direct violation of this Order. (See Jackson Decl., Exs. 12-15; id. at
              15 Ex. 12, at 1-2 (“Defendant objects to each discovery request on the grounds that
              16 that [sic] the Court lacks personal jurisdiction over defendant, as set forth in detail
              17 in Defendants’ Motion to Dismiss . . . Defendant is not obligated to, and will not,
              18 respond to discovery.”).) While Almaty has made progress in establishing each of
              19 the Swiss Defendants’ extensive California contacts (largely through third-party
              20 discovery), Swiss Defendants cannot be permitted to seek dismissal of this action
              21 based on their failure to comply with the Court’s Order to provide the very
              22 discovery that would defeat their claim. See, e.g., Harris Rutsky & Co. Ins. Servs.,
              23        15
                        Jurisdictional discovery is particularly appropriate with respect to Fed. R.
              24 Civ. P. 4(k)(2), under which this Court may exercise personal jurisdiction over the
                 Swiss Defendants based on their contacts with the U.S. as a whole, because (1) the
              25 claims against Defendants arise under federal law, (2) Defendants have not
                 affirmatively identified a state in which they are subject to personal jurisdiction,
              26 and (3) the Court’s exercise of personal jurisdiction based on the Swiss
                 Defendants’ national contacts would comport with due process. See Hassen v.
              27 Nahyan, 2010 WL 9538408, at *7 (C.D. Cal. Sept. 17, 2010) (citing Pebble Beach
                 Co. v. Caddy, 453 F.3d 1151, 1159 (9th Cir. 2006)); Holland Am. Line Inc. v.
              28 Wartsila N. Am., Inc., 485 F.3d 450, 461-62 (9th Cir. 2007).
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                   1 Inc. v. Bell & Clements Ltd., 328 F.3d 1122, 1135 (9th Cir. 2003) (dismissal
                   2 without allowing jurisdictional discovery was abuse of discretion).
                   3            E.        This Court Should Retain Jurisdiction Over the State Law Claims
                   4            If the Court dismisses Plaintiff’s RICO claim, then it should nonetheless
                   5 retain supplemental jurisdiction over Plaintiff’s state law claims under 28 U.S.C.
                   6 § 1367. In determining whether to retain supplemental jurisdiction, courts consider
                   7 “judicial economy, convenience, fairness, and comity.” Carnegie–Mellon Univ. v.
                   8 Cohill, 484 U.S. 343, 349-50 (1988). This action has been pending since May
                   9 2014, and the parties have been engaged in discovery (albeit with mixed results)
              10 since 2015. Given the lengthy history of this action, Almaty should not be sent
              11 back to square one. Judicial economy, convenience, fairness, and comity support
              12 retaining supplemental jurisdiction over Plaintiff’s state law claims.
              13 IV.            CONCLUSION
              14                For the foregoing reasons, Defendants’ Motion should be denied in its
              15 entirety. In the event the Court concludes that the CAC is deficient in any way,
              16 Almaty respectfully requests leave to amend.
              17 Dated: November 22, 2017                          LATHAM & WATKINS LLP
              18                                                   By /s/ David J. Schindler
                                                                      David J. Schindler
              19                                                      Jonathan M. Jackson
                                                                      Kendall M. Howes
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